     Case 3:15-cv-02296-B Document 56 Filed 01/31/17                Page 1 of 2 PageID 1115




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NEW HOPE HOSPITALITY, LLC,                    §
                                              §
         Plaintiff,                           §
                                              §
v.                                            §             CASE NO. 3:1S-CV-02296-B
                                              §
EH NATIONAL BANK,                             §
                                              §
         Defendant.                           §

                            DEFENDANT'S NOTICE OF APPEAL

         COMES NOW the Defendant, EH NATIONAL BANK (hereafter, the "Appellant"), who

files this its Notice of Appeal, appealing from the Court's "Memorandum Opinion and Order" dated

September 29, 2016 [Document No. 53], and the Court's "Final Judgment" [Document No. 55, dated

January 3, 2017] based on the Memorandum Opinion and Order, from which Appellant appeals to

the United States Court of Appeals for the Fifth Circuit.

                                              Respectfully submitted,

                                             STROMBERG STOCK, PLLC


                                              13y: lei Mark Stromberg
                                                     MARK STROMBERG
                                                     State Bar No. 19408830

                                                     8750 North Central Expressway, Suite 625
                                                     Dallas, Texas 75231
                                                     Telephone: (972) 458-5353
                                                     Facsimile: (972) 861-5339
                                                     E-mail: mark @strombergstock.com

                                             ATTORNEYS FOR DEFENDANT, EH
                                             NATIONAL BANK
  Case 3:15-cv-02296-B Document 56 Filed 01/31/17                      Page 2 of 2 PageID 1116




                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing has been mailed, by certified
mail, return receipt requested, and via e-mail.toJoyceW.Lindauer.12720Hillcrest.Suite 625,
Dallas, Texas 75230, on this the I" day of February, 2017.
                                               Is/ Mark stromberg
                                              MARK STROMBERG
